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                                   UNITED STATES BANKRUPTCY COURT
                                      WESTERN DISTRICT OF TEXAS
                                            WACO DIVISION
 IN RE:   Anquenetta Shontrell Dunner                                CASE NO                     04-62548

                                                                     CHAPTER                     13


                                        SCHEDULE A (REAL PROPERTY)


                                                                                                 Current Market




                                                                          Husband, Wife, Joint
                                                                                                 Value Of Debtor's
                                                       Nature Of




                                                                            Or Community
                                                                                                 Interest In
 Description And Location Of Property                  Debtor's
                                                                                                 Property, Without    Amount Of
                                                       Interest In                                                   Secured Claim
                                                                                                 Deducting Any
                                                       Property
                                                                                                 Secured Claim Or
                                                                                                 Exemption


4303 Dugger St.                                   Purchase Money             -                        $130,000.00        $79,000.00
3 Bed 2 Bath
Waco, TX 76705
(Contingent asset)




                                                                                                      $130,000.00        $79,000.00
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                                           UNITED STATES BANKRUPTCY COURT
                                              WESTERN DISTRICT OF TEXAS
                                                    WACO DIVISION
  IN RE:    Anquenetta Shontrell Dunner                                                    CASE NO      04-62548

                                                                                           CHAPTER      13

                                          SCHEDULE B (PERSONAL PROPERTY)




                                                                                                                   Husband, Wife, Joint
                                                                                                                                          Current Market




                                                                                                                     or Community
                                                                                                                                          Value of Debtor's
                                                                                                                                          Interest in
                                          None                                                                                            Property, Without
            Type of Property                                     Description and Location of Property                                     Deducting any
                                                                                                                                          Secured Claim or
                                                                                                                                          Exemption

1. Cash on hand.                                 Cash                                                                    -                           $10.00


2. Checking, savings or other finan-      X
cial accounts, certificates of deposit,
or shares in banks, savings and loan,
thrift, building and loan, and home-
stead associations, or credit unions,
brokerage houses, or cooperatives.

3. Security deposits with public util-    X
ities, telephone companies, land-
lords, and others.

4. Household goods and furnishings               Stove                                                                   -                           $75.00
including audio, video and computer
equipment.                                       Microwave                                                               -                           $25.00

                                                 Refrigerator                                                            -                          $100.00

                                                 Dishwasher                                                              -                           $75.00

                                                 Washer/Dryer                                                            -                          $100.00

                                                 Sectional                                                               -                          $100.00

                                                 Lamp                                                                    -                           $10.00

                                                 Coffee & End Tables                                                     -                          $100.00

                                                 Silverware, plates, and dishes                                          -                           $15.00

                                                 3 Beds                                                                  -                          $300.00

                                                 3 Dressers                                                              -                           $75.00

                                                 2 Televisions                                                           -                          $200.00



                                                                                                              Total >                             $1,210.00
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                                         UNITED STATES BANKRUPTCY COURT
                                            WESTERN DISTRICT OF TEXAS
                                                  WACO DIVISION
  IN RE:   Anquenetta Shontrell Dunner                                                 CASE NO      04-62548

                                                                                       CHAPTER      13

                                        SCHEDULE B (PERSONAL PROPERTY)
                                                         Continuation Sheet No. 1




                                                                                                               Husband, Wife, Joint
                                                                                                                                      Current Market




                                                                                                                 or Community
                                                                                                                                      Value of Debtor's
                                                                                                                                      Interest in
                                        None                                                                                          Property, Without
           Type of Property                                  Description and Location of Property                                     Deducting any
                                                                                                                                      Secured Claim or
                                                                                                                                      Exemption

                                               VCR                                                                   -                           $25.00

                                               Household tools                                                       -                           $10.00

                                               Table w/4 Chairs                                                      -                          $100.00

                                               Buffet                                                                -                           $10.00

                                               China Cabinet                                                         -                           $75.00

                                               Chairs                                                                -                           $50.00

                                               Videos, CDs, and tapes                                                -                           $10.00

                                               Linens                                                                -                           $20.00


5. Books; pictures and other art        X
objects; antiques; stamp, coin,
record, tape, compact disc, and other
collections or collectibles.

6. Wearing apparel.                            Clothing and shoes                                                    -                          $200.00


7. Furs and jewelry.                           Jewelry                                                               -                          $125.00


8. Firearms and sports, photo-          X
graphic, and other hobby equipment.

9. Interests in insurance policies.     X
Name insurance company of each
policy and itemize surrender or
refund value of each.

10. Annuities. Itemize and name         X
each issuer.


                                                                                                          Total >                             $1,810.00
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                                            UNITED STATES BANKRUPTCY COURT
                                               WESTERN DISTRICT OF TEXAS
                                                     WACO DIVISION
  IN RE:    Anquenetta Shontrell Dunner                                                  CASE NO      04-62548

                                                                                         CHAPTER      13

                                           SCHEDULE B (PERSONAL PROPERTY)
                                                           Continuation Sheet No. 2




                                                                                                                 Husband, Wife, Joint
                                                                                                                                        Current Market




                                                                                                                   or Community
                                                                                                                                        Value of Debtor's
                                                                                                                                        Interest in
                                           None                                                                                         Property, Without
            Type of Property                                   Description and Location of Property                                     Deducting any
                                                                                                                                        Secured Claim or
                                                                                                                                        Exemption


11. Interests in IRA, ERISA, Keogh,        X
or other pension or profit sharing
plans. Itemize.

12. Stock and interests in incorpo-        X
rated and unincorporated businesses.
Itemize.

13. Interests in partnerships or joint     X
ventures. Itemize.

14. Government and corporate bonds         X
and other negotiable and non-
negotiable instruments.

15. Accounts receivable.                   X

16. Alimony, maintenance, support,         X
and property settlements to which the
debtor is or may be entitled. Give
particulars.

17. Other liquidated debts owing                  2003 Income Tax Refund                                               -                        $2,271.00
debtor including tax refunds. Give
particulars.

18. Equitable or future interests, life    X
estates, and rights or powers exercis-
able for the benefit of the debtor other
than those listed in Schedule of Real
Property.

19. Contingent and noncontingent         X
interests in estate of a decedent, death
benefit plan, life insurance policy, or
trust.




                                                                                                            Total >                             $4,081.00
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                                          UNITED STATES BANKRUPTCY COURT
                                             WESTERN DISTRICT OF TEXAS
                                                   WACO DIVISION
  IN RE:   Anquenetta Shontrell Dunner                                                 CASE NO      04-62548

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                                         SCHEDULE B (PERSONAL PROPERTY)
                                                         Continuation Sheet No. 3




                                                                                                               Husband, Wife, Joint
                                                                                                                                      Current Market




                                                                                                                 or Community
                                                                                                                                      Value of Debtor's
                                                                                                                                      Interest in
                                         None                                                                                         Property, Without
           Type of Property                                  Description and Location of Property                                     Deducting any
                                                                                                                                      Secured Claim or
                                                                                                                                      Exemption


20. Other contingent and unliqui-        X
dated claims of every nature,
including tax refunds, counterclaims
of the debtor, and rights to setoff
claims. Give estimated value of each.

21. Patents, copyrights, and other       X
intellectual property. Give
particulars.

22. Licenses, franchises, and other      X
general intangibles. Give particulars.

23. Automobiles, trucks, trailers,              2000 Ford Expedition                                                 -                       $15,050.00
and other vehicles and accessories.

24. Boats, motors, and accessories.      X

25. Aircraft and accessories.            X

26. Office equipment, furnishings,       X
and supplies.

27. Machinery, fixtures, equipment,      X
and supplies used in business.

28. Inventory.                           X

29. Animals.                             X

30. Crops - growing or harvested.        X
Give particulars.

31. Farming equipment and                X
implements.




                                                                                                          Total >                            $19,131.00
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                                      UNITED STATES BANKRUPTCY COURT
                                         WESTERN DISTRICT OF TEXAS
                                               WACO DIVISION
  IN RE:   Anquenetta Shontrell Dunner                                      CASE NO      04-62548

                                                                            CHAPTER      13

                                     SCHEDULE B (PERSONAL PROPERTY)
                                              Continuation Sheet No. 4




                                                                                                    Husband, Wife, Joint
                                                                                                                           Current Market




                                                                                                      or Community
                                                                                                                           Value of Debtor's
                                                                                                                           Interest in
                                     None                                                                                  Property, Without
           Type of Property                       Description and Location of Property                                     Deducting any
                                                                                                                           Secured Claim or
                                                                                                                           Exemption


32. Farm supplies, chemicals, and    X
feed.

33. Other personal property of any   X
kind not already listed. Itemize.




                                                                                               Total >                            $19,131.00
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                                            UNITED STATES BANKRUPTCY COURT
                                               WESTERN DISTRICT OF TEXAS
                                                     WACO DIVISION
  IN RE:    Anquenetta Shontrell Dunner                                                         CASE NO        04-62548

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                                 SCHEDULE C (PROPERTY CLAIMED AS EXEMPT)

Debtor elects the exemptions to which debtor is entitled under: (Check one box)

 ¨ 11 U.S.C. Sec. 522(b)(1):   Exemptions provided in 11 U.S.C. Sec. 522(d). Note: These exemptions are available only in certain states.

 þ 11 U.S.C. Sec. 522(b)(2):   Exemptions available under applicable nonbankruptcy federal laws, state or local law where the debtor's
                               domicile has been located for the 180 days immediately preceding the filing of the petition, or for a longer
                               portion of the 180-day period than in any other place, and the debtor's interest as a tenant by the entirety
                               or joint tenant to the extent the interest is exempt from process under applicable nonbankruptcy law.




                                                                                                                                    Current Market
                                                                                                                                    Value of Property
                                                            Specify Law Providing Each                   Value of Claimed
        Description of Property                                                                                                     Without Deducting
                                                            Exemption                                    Exemption
                                                                                                                                    Exemption



4303 Dugger St.                                         Const. Art. 16 §§ 50, 51, Texas Prop.                       $51,000.00                $130,000.00
3 Bed 2 Bath                                            Code §§ 41.001, 41.002
Waco, TX 76705
(Contingent asset)

Stove                                                   Texas Property Code §§ 42.001(a),                               $75.00                    $75.00
                                                        42.002(a)(1)

Microwave                                               Texas Property Code §§ 42.001(a),                               $25.00                    $25.00
                                                        42.002(a)(1)

Refrigerator                                            Texas Property Code §§ 42.001(a),                             $100.00                    $100.00
                                                        42.002(a)(1)

Dishwasher                                              Texas Property Code §§ 42.001(a),                               $75.00                    $75.00
                                                        42.002(a)(1)

Washer/Dryer                                            Texas Property Code §§ 42.001(a),                             $100.00                    $100.00
                                                        42.002(a)(1)

Sectional                                               Texas Property Code §§ 42.001(a),                             $100.00                    $100.00
                                                        42.002(a)(1)

Lamp                                                    Texas Property Code §§ 42.001(a),                               $10.00                    $10.00
                                                        42.002(a)(1)

Coffee & End Tables                                     Texas Property Code §§ 42.001(a),                             $100.00                    $100.00
                                                        42.002(a)(1)

Silverware, plates, and dishes                          Texas Property Code §§ 42.001(a),                               $15.00                    $15.00


                                                                                                                    $51,600.00                $130,600.00
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                                      UNITED STATES BANKRUPTCY COURT
                                         WESTERN DISTRICT OF TEXAS
                                               WACO DIVISION
  IN RE:     Anquenetta Shontrell Dunner                                    CASE NO   04-62548

                                                                           CHAPTER    13

                               SCHEDULE C (PROPERTY CLAIMED AS EXEMPT)
                                               Continuation Sheet No. 1



                                                                                                        Current Market
                                                                                                        Value of Property
                                              Specify Law Providing Each         Value of Claimed       Without Deducting
         Description of Property
                                              Exemption                          Exemption              Exemption



                                            42.002(a)(1)

3 Beds                                      Texas Property Code §§ 42.001(a),                $300.00             $300.00
                                            42.002(a)(1)

3 Dressers                                  Texas Property Code §§ 42.001(a),                 $75.00              $75.00
                                            42.002(a)(1)

2 Televisions                               Texas Property Code §§ 42.001(a),                $200.00             $200.00
                                            42.002(a)(1)

VCR                                         Texas Property Code §§ 42.001(a),                 $25.00              $25.00
                                            42.002(a)(1)

Household tools                             Texas Property Code §§ 42.001(a),                 $10.00              $10.00
                                            42.002(a)(1)

Table w/4 Chairs                            Texas Property Code §§ 42.001(a),                $100.00             $100.00
                                            42.002(a)(1)

Buffet                                      Texas Property Code §§ 42.001(a),                 $10.00              $10.00
                                            42.002(a)(1)

China Cabinet                               Texas Property Code §§ 42.001(a),                 $75.00              $75.00
                                            42.002(a)(1)

Chairs                                      Texas Property Code §§ 42.001(a),                 $50.00              $50.00
                                            42.002(a)(1)

Videos, CDs, and tapes                      Texas Property Code §§ 42.001(a),                 $10.00              $10.00
                                            42.002(a)(1)

Linens                                      Texas Property Code §§ 42.001(a),                 $20.00              $20.00
                                            42.002(a)(1)

Clothing and shoes                          Texas Property Code §§ 42.001(a),                $200.00             $200.00
                                            42.002(a)(5)


                                                                                           $52,800.00        $131,800.00
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                                      WESTERN DISTRICT OF TEXAS
                                            WACO DIVISION
 IN RE:   Anquenetta Shontrell Dunner                                    CASE NO   04-62548

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                           SCHEDULE C (PROPERTY CLAIMED AS EXEMPT)
                                            Continuation Sheet No. 2



                                                                                                     Current Market
                                                                                                     Value of Property
                                           Specify Law Providing Each         Value of Claimed       Without Deducting
     Description of Property
                                           Exemption                          Exemption              Exemption



Jewelry                                  Texas Property Code §§ 42.001(a),                $125.00             $125.00
                                         42.002(a)(6)

2000 Ford Expedition                     Texas Property Code §§ 42.001(a),                   $0.00         $15,050.00
                                         42.002(a)(9)




                                                                                        $52,800.00        $146,850.00
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         Anquenetta Shontrell Dunner                                                                                   CASE NO     04-62548
                                                                                                                                          (If Known)
                                                                                                                       CHAPTER     13

                            SCHEDULE D (CREDITORS HOLDING SECURED CLAIMS)

                        ¨   Check this box if debtor has no creditors holding secured claims to report on Schedule D.




                                                          HUSBAND, WIFE, JOINT
                                                                                                                                               AMOUNT OF




                                                                                                                                UNLIQUIDATED
                                                                                 DATE CLAIM WAS INCURRED,




                                                                                                                                 CONTINGENT
                                                            OR COMMUNITY
                                               CODEBTOR
                                                                                                                                               CLAIM




                                                                                                                                  DISPUTED
CREDITOR'S NAME AND MAILING ADDRESS
                                                                                 NATURE OF LIEN, AND                                                                UNSECURED
                                                                                                                                               WITHOUT
         INCLUDING ZIP CODE                                                      DESCRIPTION AND MARKET                                                             PORTION, IF
                                                                                                                                               DEDUCTING
                                                                                 VALUE OF PROPERTY SUBJECT                                                          ANY
                                                                                                                                               VALUE OF
                                                                                 TO LIEN
                                                                                                                                               COLLATERAL

                                                                                 DATE INCURRED:      1/2/2003
ACCT #: 415610021                                                                NATURE OF LIEN:
                                                                                 Purchase Money
Americredit Financial Services                                                   COLLATERAL:
                                                                                 2000 Ford Expedition                                                  $25,986.97       $10,936.97
PO Box 183853                                                  -                 REMARKS:
Arlington, TX 76096



                                                                                 COLLATERAL VALUE:              $15,050.00
                                                                                 DATE INCURRED:      Various
ACCT #: xxxxxxxxxxx8029                                                          NATURE OF LIEN:
                                                                                 Ad Valorem taxes
Buddy Skeen                                                                      COLLATERAL:
                                                                                 Homestead                                                                $740.57
Tax Assessor-Collector                                         -                 REMARKS:
PO Box 406
Waco TX 76703


                                                                                 COLLATERAL VALUE:                 $740.57



Representing:                                                                    Diane Sanders                                                   Notice Only          Notice Only
Buddy Skeen                                                                      Linebarger, Heard, et al
                                                                                 PO Box 17428
                                                                                 Austin, TX 78760-7777




Representing:                                                                    Lee Gordon                                                      Notice Only          Notice Only
Buddy Skeen                                                                      McCreary Veselka Bragg & Allen, PC
                                                                                 P. O. Box 26990
                                                                                 Austin, TX 78755-0990




                                                                                 DATE INCURRED:      Various
ACCT #: 43-H232-502                                                              NATURE OF LIEN:
                                                                                 Judgment
State Farm Insurance                                                             COLLATERAL:
                                                                                 Real Property                                                          $3,408.06        $3,408.06
17301 Box 799011                                               -                 REMARKS:
Dallas, TX 75379



                                                                                 COLLATERAL VALUE:                   $0.00
                                                                                                      Total for this Page (Subtotal) >                 $30,135.60       $14,345.03
________________continuation
       1                     sheets attached
                                                                                                                     Running Total >                   $30,135.60       $14,345.03
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 IN RE:
                                             32
        Anquenetta Shontrell Dunner                                                                         CASE NO     04-62548
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                                                                                                            CHAPTER     13

                        SCHEDULE D (CREDITORS HOLDING SECURED CLAIMS)
                                                                           Continuation Sheet No. 1




                                                 HUSBAND, WIFE, JOINT
                                                                                                                                    AMOUNT OF




                                                                                                                     UNLIQUIDATED
                                                                        DATE CLAIM WAS INCURRED,




                                                                                                                      CONTINGENT
                                                   OR COMMUNITY
                                      CODEBTOR
                                                                                                                                    CLAIM




                                                                                                                       DISPUTED
CREDITOR'S NAME AND MAILING ADDRESS
                                                                        NATURE OF LIEN, AND                                                              UNSECURED
                                                                                                                                    WITHOUT
         INCLUDING ZIP CODE                                             DESCRIPTION AND MARKET                                                           PORTION, IF
                                                                                                                                    DEDUCTING
                                                                        VALUE OF PROPERTY SUBJECT                                                        ANY
                                                                                                                                    VALUE OF
                                                                        TO LIEN
                                                                                                                                    COLLATERAL




Representing:                                                           McReynolds Law Firm                                           Notice Only          Notice Only
State Farm Insurance                                                    13140 Coit Rd. #200
                                                                        Dallas, TX 75240-5737




                                                                                           Total for this Page (Subtotal) >                      $0.00            $0.00
                                                                                                          Running Total >                   $30,135.60       $14,345.03
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                                                 UNITED STATES BANKRUPTCY COURT
                                                    WESTERN DISTRICT OF TEXAS
                                                          WACO DIVISION
   IN RE:    Anquenetta Shontrell Dunner                                                               CASE NO         04-62548

                                                                                                      CHAPTER          13

                   SCHEDULE E (CREDITORS HOLDING UNSECURED PRIORITY CLAIMS)


               ¨ Check this box if debtor has no creditors holding unsecured priority claims to report on Schedule E.

 TYPES OF PRIORITY CLAIMS                          (Check the appropriate box(es) if claims in that category are listed on the attached sheets)


¨    Extensions of credit in an involuntary case
     Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but
     before the earlier of the appointment of a trustee or the order for relief. 11 U.S.C. Sec. 507(a)(2).

¨    Wages, salaries, and commissions
     Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees, up to a maximum
     of $4,925* per employee, earned within 90 days immediately preceding the filing of the original petition, or the cessation of
     business, whichever occurred first, to the extent provided by 11 U.S.C. Sec. 507(a)(3).

¨    Contributions to employee benefit plans
     Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original
     petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. Sec. 507(a)(4).


¨    Certain farmers and fishermen
     Claims of certain farmers and fishermen, up to a maximum of $4,925* per farmer or fisherman, against the debtor, as
     provided in 11 U.S.C. Sec. 507(a)(5).

¨    Deposits by individuals
     Claims of individuals up to a maximum of $2,225* for deposits for the purchase, lease or rental of property or services for
     personal, family, or household use, that were not delivered or provided. 11 U.S.C. Sec. 507(a)(6).


¨    Alimony, Maintenance, or Support
     Claims of a spouse, former spouse, or child of the debtor for alimony, maintenance, or support, to the extent provided in 11
     U.S.C. Sec. 507(a)(7).

¨    Taxes and certain other debts owed to governmental units
     Taxes, customs duties, and penalties owing to federal, state, and local government units as set forth in 11 U.S.C. Sec. 507(a)
     (8).

¨    Commitments to Maintain the Capital of an Insured Depository Institution
     Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or
     Board of Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an
     insured depository institution. 11 U.S.C. Sec. 507(a)(9).

þ    Administrative allowances under 11 U.S.C. Sec. 330
     Claims based on services rendered by the trustee, examiner, professional person, or attorney and by any paraprofessional
     person employed by such person as approved by the court and/or in accordance with 11 U.S.C. Secs. 326, 328, 329 and 330.




* Amounts are subject to adjustment on April 1, 2007, and every three years thereafter with respect to cases commenced on or
after the date of adjustment.




 ________________continuation
        1                     sheets attached
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  IN RE:   Anquenetta Shontrell Dunner                                                                           CASE NO     04-62548
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                    SCHEDULE E (CREDITORS HOLDING UNSECURED PRIORITY CLAIMS)
                                                                                Continuation Sheet No. 1
                  TYPE OF PRIORITY   Administrative allowances




                                                      HUSBAND, WIFE, JOINT




                                                                                                                          UNLIQUIDATED
                                                                                                                           CONTINGENT
                                                        OR COMMUNITY
                                           CODEBTOR




                                                                                                                            DISPUTED
                                                                               DATE CLAIM WAS INCURRED AND                               TOTAL               AMOUNT
CREDITOR'S NAME AND MAILING ADDRESS
        INCLUDING ZIP CODE                                                     CONSIDERATION FOR CLAIM                                   AMOUNT OF           ENTITLED TO
                                                                                                                                         CLAIM               PRIORITY



ACCT #:                                                                      DATE INCURRED:   05/05/2004
                                                                             CONSIDERATION:
James C. Herring                                                             Attorney Fees                                                       $2,000.00       $2,000.00
6801 Sanger Ste. 190                                                         REMARKS:
Waco, TX 76710                                              -




                                                                                                Total for this Page (Subtotal) >                 $2,000.00        $2,000.00
                                                                                                               Running Total >                   $2,000.00        $2,000.00
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  IN RE:   Anquenetta Shontrell Dunner                                                                            CASE NO   04-62548
                                                                                                                                 (If Known)
                                                                                                                  CHAPTER   13

                 SCHEDULE F (CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS)

                   ¨ Check this box if debtor has no creditors holding unsecured nonpriority claims to report on Schedule F.




                                                             HUSBAND, WIFE, JOINT




                                                                                                                                           UNLIQUIDATED
                                                                                                                                            CONTINGENT
                                                               OR COMMUNITY
                                                  CODEBTOR




                                                                                                                                             DISPUTED
                                                                                     DATE CLAIM WAS INCURRED AND
 CREDITOR'S NAME AND MAILING ADDRESS                                                                                                                      AMOUNT OF CLAIM
                                                                                     CONSIDERATION FOR CLAIM. IF CLAIM
         INCLUDING ZIP CODE
                                                                                     IS SUBJECT TO SETOFF, SO STATE.



ACCT #: 415610021                                                                   DATE INCURRED:   Various
                                                                                    CONSIDERATION:
Americredit Financial                                                               Notice of Appearance                                                      Notice Only
PO Box 183853                                                                       REMARKS:
                                                                 -
Arlington, TX 76096



ACCT #: 129 293 394                                                                 DATE INCURRED:   Various
                                                                                    CONSIDERATION:
Arrow Finanical Services                                                            Credit Card                                                                  $1,797.95
c/o Becket & Lee                                                                    REMARKS:
                                                                 -
PO Box 3001                                                                         Original Creditor JC Penney
Malvern, PA 19355-0701

ACCT #:                                                                             DATE INCURRED:   Various
                                                                                    CONSIDERATION:
Asset Acceptance                                                                    Credit Card                                                                  $1,660.84
PO Box 795161                                                                       REMARKS:
                                                                 -
San Antonio, TX 78279



ACCT #: 110 971 264                                                                 DATE INCURRED:   Various
                                                                                    CONSIDERATION:
Bealls                                                                              Credit Card                                                                   $353.99
PO Box 740933                                                                       REMARKS:
                                                                 -
Dallas, TX 75374




Representing:                                                                       Bealls Recovery Dept.                                                     Notice Only
Bealls                                                                              P.O. Box 660297
                                                                                    Dallas, TX 75266



ACCT #: 15512585PURG                                                                DATE INCURRED:   Various
                                                                                    CONSIDERATION:
Diamond Shamrock                                                                    Credit Card                                                                   $319.80
P.O. Box 631                                                                        REMARKS:
                                                                 -
Amarillo, TX 79105



ACCT #:                                                                             DATE INCURRED:   Various
                                                                                    CONSIDERATION:
Discount Floors                                                                     Fees                                                                         $1,200.00
4535 W. Waco Dr.                                                                    REMARKS:
                                                                 -
Waco, TX 76710



                                                                                                        Total for this Page (Subtotal) >                          $5,332.58
________________continuation
       2                     sheets attached
                                                                                                                       Running Total >                            $5,332.58
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                                                                                                                        (If Known)
                                                                                                        CHAPTER    13

                 SCHEDULE F (CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS)
                                                              Continuation Sheet No. 1




                                                    HUSBAND, WIFE, JOINT




                                                                                                                                  UNLIQUIDATED
                                                                                                                                   CONTINGENT
                                                      OR COMMUNITY
                                         CODEBTOR




                                                                                                                                    DISPUTED
                                                                            DATE CLAIM WAS INCURRED AND
 CREDITOR'S NAME AND MAILING ADDRESS                                                                                                             AMOUNT OF CLAIM
                                                                            CONSIDERATION FOR CLAIM. IF CLAIM
         INCLUDING ZIP CODE
                                                                            IS SUBJECT TO SETOFF, SO STATE.



ACCT #:                                                                    DATE INCURRED:   Various
                                                                           CONSIDERATION:
F.H.A.                                                                     Notice Only                                                               Notice Only
101 S. Main, Ste. 102                                                      REMARKS:
                                                        -
Temple, TX 76501



ACCT #: 00000189978189                                                     DATE INCURRED:   Various
                                                                           CONSIDERATION:
Foley's                                                                    Credit Card                                                                   $558.07
1110 Main St.                                                              REMARKS:
                                                        -
Houston, TX 77002                                                          poc okay mew



ACCT #:                                                                    DATE INCURRED:   Various
                                                                           CONSIDERATION:
JC Penney                                                                  Credit Card                                                                  $1,580.97
PO Box 32000                                                               REMARKS:
                                                        -
Orlando, FL 32890




Representing:                                                              Arrow Financial                                                           Notice Only
JC Penney                                                                  5996 West Touhy Ave.
                                                                           Niles, IL 60714



ACCT #:                                                                    DATE INCURRED:
                                                                           CONSIDERATION:
Linebarger Goggan et al                                                    Notice Only                                                               Notice Only
ATTN: Diane Sanders                                                        REMARKS:
                                                        -
P. O. Box 17428
Austin, TX 78760

ACCT #:                                                                    DATE INCURRED:   Various
                                                                           CONSIDERATION:
Resurgent Capital Services                                                 Credit Card                                                                   $875.58
P.O. Box 10587                                                             REMARKS:
                                                        -
Greenville, SC 29603-0587



ACCT #: 0784228836127                                                      DATE INCURRED:   Various
                                                                           CONSIDERATION:
Sears Bankruptcy Recovery                                                  Credit Card                                                                  $1,077.17
P.O. Box 3671                                                              REMARKS:
                                                        -                                                                                  X
Des Moines, IA 50322-0674



                                                                                               Total for this Page (Subtotal) >                          $4,091.79
                                                                                                              Running Total >                            $9,424.37
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                 SCHEDULE F (CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS)
                                                              Continuation Sheet No. 2




                                                    HUSBAND, WIFE, JOINT




                                                                                                                                   UNLIQUIDATED
                                                                                                                                    CONTINGENT
                                                      OR COMMUNITY
                                         CODEBTOR




                                                                                                                                     DISPUTED
                                                                            DATE CLAIM WAS INCURRED AND
 CREDITOR'S NAME AND MAILING ADDRESS                                                                                                              AMOUNT OF CLAIM
                                                                            CONSIDERATION FOR CLAIM. IF CLAIM
         INCLUDING ZIP CODE
                                                                            IS SUBJECT TO SETOFF, SO STATE.



ACCT #:                                                                    DATE INCURRED:
                                                                           CONSIDERATION:
Walt Fair                                                                  Attorney for Mike Milligan                                                        $0.00
1508 N. Valley Mills Dr.                                                   REMARKS:
                                                        -
Waco, TX 76710




                                                                                                Total for this Page (Subtotal) >                             $0.00
                                                                                                               Running Total >                            $9,424.37
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               SCHEDULE G (EXECUTORY CONTRACTS AND UNEXPIRED LEASES)

          ¨ Check this box if debtor has no executory contracts or unexpired leases.


                                                              DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR'S
                                                              INTEREST. STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL
         NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,        PROPERTY. STATE CONTRACT NUMBER OF ANY GOVERNMENT
            OF OTHER PARTIES TO LEASE OR CONTRACT             CONTRACT.




Mike Milligan                                                 Residential Lease
Synergy Mortgage                                              $1000.00 Per Month
510 N. Valley Mills Dr.                                       Began:Unknown
Waco, TX 76710                                                Contract to be ASSUMED
                                                              Contract is in DEFAULT
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                                       SCHEDULE H (CODEBTORS)

          þ Check this box if debtor has no codebtors.


              NAME AND ADDRESS OF CODEBTOR                      NAME AND ADDRESS OF CREDITOR
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                          SCHEDULE I (CURRENT INCOME OF INDIVIDUAL DEBTOR(S))

     Debtor's Marital                              Dependents of Debtor and Spouse (Names, Ages and Relationships)
         Status                Name                        Age Relationship       Name                     Age Relationship
                              J. Dread                           19 Daughter
          Single              M. Hobbs                    19 Months Daughter




   Employment                    Debtor                                                       Spouse
   Occupation                  Administative Assistant
   Name of Employer            RCLC
   How Long Employed           8 Years
   Address of Employer         PO Box 154369
                               Waco, TX 76705

Income: (Estimate of average monthly income)                                                                       DEBTOR                     SPOUSE
Current monthly gross wages, salary, and commissions (prorate if not paid monthly)                                $1,750.00
Estimated monthly overtime                                                                                            $0.00
SUBTOTAL                                                                                                          $1,750.00
LESS PAYROLL DEDUCTIONS
   A. Payroll taxes (includes social security tax if B. is zero)                                                      $140.25
   B. Social Security Tax                                                                                             $130.05
   C. Insurance                                                                                                         $0.00
   D. Union dues                                                                                                        $0.00
   E. Retirement                                                                                                        $0.00
   F. Other (specify)                                                                                                   $0.00
   G. Other (specify)                                                                                                   $0.00
    SUBTOTAL OF PAYROLL DEDUCTIONS                                                                                    $270.30

TOTAL NET MONTHLY TAKE HOME PAY                                                                                   $1,479.70
Regular income from operation of business or profession or farm (attach detailed stmt)                                  $0.00
Income from real property                                                                                               $0.00
Interest and dividends                                                                                                  $0.00
Alimony, maintenance or support payments payable to debtor for the debtor's use or                                      $0.00
   that of the dependents listed above
Social Security or other government assistance (specify)                                                                $0.00
Pension or retirement income                                                                                            $0.00
Other monthly income (specify below)
    1. Daughter's SS                                                                                                  $507.60
    2. Pro-Rated Income Tax Return                                                                                    $189.25
    3. P/T Job Est. Monthly Income                                                                                    $500.00

   TOTAL MONTHLY INCOME                                                                                           $2,676.55

TOTAL COMBINED MONTHLY INCOME $2,676.55                                                     (Report also on Summary of Schedules)

Describe any increase or decrease of more than 10% in any of the above categories anticipated to occur within the year following the filing of this document:
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                SCHEDULE J (CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S))

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. If box is checked, complete a separate
¨
    schedule of expenditures labeled "Spouse."


Rent or home mortgage payment (include lot rental for mobile home)                                                                           $1,000.00
Are real estate taxes included?        þ Yes       ¨ No
Is property insurance included?        þ Yes       ¨ No
Utilities: Electricity and heating fuel                                                                                                        $150.00
           Water and sewer                                                                                                                      $65.00
           Telephone                                                                                                                            $50.00
           Other:
Home maintenance (repairs and upkeep)                                                                                                           $50.00
Food                                                                                                                                           $425.00
Clothing                                                                                                                                        $25.00
Laundry and dry cleaning                                                                                                                        $20.00
Medical and dental expenses (not covered by insurance)                                                                                          $60.00
Transportation (not including car payments)                                                                                                    $150.00
Recreation, clubs and entertainment, newspapers, magazines, etc.
Charitable contributions
Insurance (not deducted from wages or included in home mortgage payments)
         Homeowner's or renter's
         Life
         Health                                                                                                                                 $85.00
         Auto                                                                                                                                  $101.55
         Other:
Taxes (not deducted from wages or included in home mortgage payments)
Specify:
Installment payments: (In Chapter 12 and 13 cases, do not list payments included in the plan)
           Auto
           Other:
           Other:
           Other:
Alimony, maintenance, and support paid to others
Payments for support of additional dependents not living at debtor's home
Regular expenses from operation of business, profession, or farm (attach detailed statement)
Other: Personal care/hygiene                                                                                                                    $25.00
Other:

TOTAL MONTHLY EXPENSES (Report also on Summary of Schedules)                                                                                 $2,206.55

[FOR CHAPTER 12 AND 13 DEBTORS ONLY]
Provide the information requested below, including whether plan payments are to be made bi-weekly, monthly, annually, or at some other regular
interval.

A. Total projected monthly income                                                                                                            $2,676.55
B. Total projected monthly expenses (including separate spouse budget if applicable)                                                         $2,206.55
C. Excess income (A minus B)                                                                                                                  $470.00
D. Total amount to be paid into plan each          Monthly            (interval)                                                              $470.00
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                                               SUMMARY OF SCHEDULES




                                        ATTACHED NO. OF
NAME OF SCHEDULE                                                       ASSETS                  LIABILITIES          OTHER
                                        (YES/NO) SHEETS

A - Real Property                           Yes            1               $130,000.00



B - Personal Property                       Yes            5                 $19,131.00



C - Property Claimed                        Yes            3
    as Exempt


D - Creditors Holding                                      2                                           $30,135.60
                                            Yes
    Secured Claims

E - Creditors Holding Unsecured
                                            Yes            2                                            $2,000.00
    Priority Claims


F - Creditors Holding Unsecured                            3                                            $9,424.37
                                            Yes
    Nonpriority Claims

G - Executory Contracts and
                                            Yes            1
   Unexpired Leases


H - Codebtors                               Yes            1


I - Current Income of
                                            Yes            1                                                          $2,676.55
    Individual Debtor(s)

J - Current Expenditures of
                                            Yes            1                                                          $2,206.55
   Individual Debtor(s)


                           Total Number of Sheets          20
                                 of ALL Schedules    >


                                                    Total Assets   >       $149,131.00


                                                                       Total Liabilities   >           $41,559.97
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                            DECLARATION CONCERNING DEBTOR'S SCHEDULES


                        DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


    I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of         21
sheets, and that they are true and correct to the best of my knowledge, information, and belief.




Date 12/13/2004                                              Signature    /s/ Anquenetta Shontrell Dunner
                                                                         Anquenetta Shontrell Dunner


Date                                                         Signature


                                                             [If joint case, both spouses must sign.]




Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or
both. 18 U.S.C. §§ 152 and 3571.
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                                              STATEMENT OF FINANCIAL AFFAIRS


       1. Income from employment or operation of business
None
              State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business
¨      from the beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the two years
       immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a
       calendar year may report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state
       income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a
       joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

        AMOUNT                      SOURCE (if more than one)
        $19,250.00                  Debtor Income from Employment YTD Est.
        $21,000.00                  Debtor Income from Employment 2003
        $6,000.00                   Debtor Income from Employment 2002 Est.

       2. Income other than from employment or operation of business
None
               State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
¨      during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each
       spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is
       filed, unless the spouses are separated and a joint petition is not filed.)
        AMOUNT                      SOURCE
        $5,583.60.00                Debtor Income from Daughter's Social Security YTD
        $5,880.00                   Debtor Income from Daughter's Social Security 2003 Est.
        $5,880.00                   Debtor Income from Daughter's Social Security 2002 Est.

       3. Payments to creditors
None
            a. List all payments on loans, installment purchases of goods or services, and other debts, aggregating more than $600 to any creditor,
þ      made within 90 days immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
       payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




None
              b. List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors who are
þ      or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)




       4. Suits and administrative proceedings, executions, garnishments and attachments
None
              a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this
¨      bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
        CAPTION OF SUIT AND                                                             COURT OR AGENCY                  STATUS OR
        CASE NUMBER                                    NATURE OF PROCEEDING             AND LOCATION                     DISPOSITION
        County of McLennan vs.                         Sued for non-payment             McLennan County                  Judgment -- Jan. 2003
        Anquenetta Dunner
        #200135164

        State Farm Insurance vs.                       Sued for non-payment             McLennan County                  Judgment
        Anquenetta Dunner
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                                              STATEMENT OF FINANCIAL AFFAIRS
                                                                Continuation Sheet No. 1


None
              b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
þ      preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of
       either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




       5. Repossessions, foreclosures and returns
None
              List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
þ      returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter
       13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated
       and a joint petition is not filed.)




       6. Assignments and receiverships
None
               a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this
þ      case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition
       is filed, unless the spouses are separated and a joint petition is not filed.)




None
             b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding
þ      the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or
       both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




       7. Gifts
None
              List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and
þ      usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than
       $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




       8. Losses
None
               List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
¨      commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not
       a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                   DESCRIPTION OF CIRCUMSTANCES AND, IF
        DESCRIPTION AND VALUE                      LOSS WAS COVERED IN WHOLE OR IN PART
        OF PROPERTY                                BY INSURANCE, GIVE PARTICULARS                                             DATE OF LOSS
        Kitchen appliances --                      kitchen fire with losses being fully covered by                            Sept., 2003
        $17,000.00                                 insurance
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                                              STATEMENT OF FINANCIAL AFFAIRS
                                                                Continuation Sheet No. 2


       9. Payments related to debt counseling or bankruptcy
None
             List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning
¨      debt consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the
       commencement of this case.

                                                                      DATE OF PAYMENT,
                                                                      NAME OF PAYOR IF                 AMOUNT OF MONEY OR DESCRIPTION
        NAME AND ADDRESS OF PAYEE                                     OTHER THAN DEBTOR                AND VALUE OF PROPERTY
        James C. Herring                                              11/15/2004                       Filing Fees
        6801 Sanger Ste. 190
        Waco, TX 76710

       10. Other transfers
None
              List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred
þ      either absolutely or as security within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
       chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)




       11. Closed financial accounts
None
             List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
þ      otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other financial
       accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives,
       associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information
       concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated
       and a joint petition is not filed.)




       12. Safe deposit boxes
None
              List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
þ      immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories
       of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




       13. Setoffs
None
               List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement
þ      of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a
       joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




       14. Property held for another person
None
             List all property owned by another person that the debtor holds or controls.
þ
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                                               STATEMENT OF FINANCIAL AFFAIRS
                                                                 Continuation Sheet No. 3


       15. Prior address of debtor
None
              If the debtor has moved within the two years immediately preceding the commencement of this case, list all premises which the debtor
þ      occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of
       either spouse.




       16. Spouses and Former Spouses
None
             If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
þ      Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the six-year period immediately preceding the
       commencement of the case, identify the name of the debtor's spouse and of any former spouse who resides or resided with the debtor in the
       community property state.




       17. Environmental Information
       For the purpose of this question, the following definitions apply:

       "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic
       substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or
       regulations regulating the cleanup of these substances, wastes, or material.

       "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated
       by the debtor, including, but not limited to, disposal sites.

       "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or
       contaminant or similar term under an Environmental Law.



None         a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
þ      potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
       Environmental Law:




None          b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material.
þ      Indicate the governmental unit to which the notice was sent and the date of the notice.




None         c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the
þ      debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.
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                                                STATEMENT OF FINANCIAL AFFAIRS
                                                                   Continuation Sheet No. 4


       18. Nature, location and name of business
None
              a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
þ      ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partnership, sole
       proprietorship, or was a self-employed professional within the six years immediately preceding the commencement of this case, or in which the
       debtor owned 5 percent or more of the voting or equity securities within the six years immediately preceding the commencement of this case.

              If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
       ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within the six
       years immediately preceding the commencement of this case.

              If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
       ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within the six
       years immediately preceding the commencement of this case.




None
              b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. Section 101.
þ


       The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has been,
       within the six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
       owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole
       proprietor or otherwise self-employed.

       (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
       within the six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years
       should go directly to the signature page.)

       19. Books, records and financial statements
None
             a. List all bookkeepers and accountants who within the two years immediately preceding the filing of this bankruptcy case kept or
þ      supervised the keeping of books of account and records of the debtor.




None
            b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books of
þ      account and records, or prepared a financial statement of the debtor.




None
             c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of
þ      the debtor. If any of the books of account and records are not available, explain.




None
             d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
þ      issued within the two years immediately preceding the commencement of this case by the debtor.
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       20. Inventories
None
             a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
þ      and the dollar amount and basis of each inventory.




None
             b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.
þ


       21. Current Partners, Officers, Directors and Shareholders
None
             a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.
þ


None
              b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
þ      controls, or holds 5 percent or more of the voting or equity securities of the corporation.




       22. Former partners, officers, directors and shareholders
None
           a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
þ      commencement of this case.




None
             b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year immediately
þ      preceding the commencement of this case.




       23. Withdrawals from a partnership or distributions by a corporation
None
              If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any
þ      form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the commencement of
       this case.




       24. Tax Consolidation Group
None
              If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated group
þ      for tax purposes of which the debtor has been a member at any time within the six-year period immediately preceding the commencement of the
       case.
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       25. Pension Funds
None
            If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the debtor, as an
þ      employer, has been responsible for contributing at any time within the six-year period immediately preceding the commencement of the case.
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                     DECLARATION CONCERNING DEBTOR'S STATEMENT OF FINANCIAL AFFAIRS


     I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
attachments thereto, consisting of         8                   sheets, and that they are true and correct.


Date 12/13/2004                                                Signature            /s/ Anquenetta Shontrell Dunner
                                                               of Debtor            Anquenetta Shontrell Dunner


Date 12/13/2004                                                Signature
                                                               of Joint Debtor
                                                               (if any)

 Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C.
 Sections 152 and 3571
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                                     NOTICE TO INDIVIDUAL CONSUMER DEBTOR(S)
        The purpose of this notice is to acquaint you with the four chapters of the federal Bankruptcy Code under which you may file a
        bankruptcy petition. The bankruptcy law is complicated and not easily described. Therefore, you should seek the advice of an
        attorney to learn your rights and responsibilities under the law should you decide to file a petition with the court. Court
        employees are prohibited from giving you legal advice.


Chapter 7: Liquidation ($209.00 filing fee)
1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts.

2. In a Chapter 7 case, a trustee secures for the bankruptcy estate all your assets which the trustee may obtain under the applicable provisions of
the Bankruptcy Code. You may claim certain of your property exempt under governing law. The trustee may then liquidate the non-exempt property
as necessary and uses the proceeds to pay your creditors according to priorities of the Bankruptcy Code.

3. The purpose of filing a Chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have committed certain
kinds of improper conduct described in the Bankruptcy Code, your discharge may be denied by the court, and the purpose for which you filed the
bankruptcy petition will be defeated.

4. Even if you receive a discharge, there are some debts that are not discharged under the law. Therefore, you may still be responsible for such
debts as certain taxes and student loans, alimony and support payments, criminal restitution, and debts for death or personal injury caused by
driving while intoxicated from alcohol or drugs.

5. Under certain circumstances you may keep property that you have purchased subject to a valid security interest. Your attorney can explain the
options that are available to you.

Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income
($194.00 filing fee)
1. Chapter 13 is designed for individuals with regular income who are temporarily unable to pay their debts but would like to pay them in installments
over a period of time. You are only eligible for Chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy Code.

2. Under Chapter 13 you must file a plan with the court to repay your creditors all or part of the money that you owe them, using your future
earnings. Usually, the period of time allowed by the court to repay your debts is three years, but no more than five years. Your plan must be
approved by the court before it can take effect.

3. Under Chapter 13, unlike Chapter 7, you may keep all of your property, both exempt and non-exempt, as long as you continue to make payments
under the plan.

4. After completion of payments under your plan your debts are discharged except alimony and support payments, student loans, certain debts
including criminal fines and restitution and debts for death or personal injury caused by driving while intoxicated from alcohol or drugs, and long-
term secured obligations.


Chapter 11: Reorganization ($839.00 filing fee)
Chapter 11 is designed primarily for the reorganization of a business but is also available to consumer debtors. Its provisions are quite complicated,
and any decision by an individual to file a Chapter 11 petition should be reviewed with an attorney.


Chapter 12: Family Farmer ($239.00 filing fee)
Chapter 12 is designed to permit family farmers to repay their debts over a period of time from future earnings and is in many ways similar to
Chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a family-owned farm.


                                                                ACKNOWLEDGEMENT

                                                       13th
 I hereby certify that I have read this notice on this________________day     December
                                                                          of__________________________________,   2004
                                                                                                                _______.

 /s/ Anquenetta Shontrell Dunner
Anquenetta Shontrell Dunner
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            DISCLOSURE OF COMPENSATION UNDER 11 U.S.C. § 329 AND B.R. 2016(B)


                                                  Amount paid:                    $0.00
                        Amount to be paid through the plan:                  $2,000.00
                        Amount to be paid outside the plan:
                            Property transferred to attorney:      None
                                  Collateral held by attorney:     None
                                    Source of compensation: Current wages


I certify that I am the attorney for the above named debtor, and that the compensation paid or agreed to be paid to me for services
rendered or to be rendered on behalf of the Debtor in or in connections with a case under Title 11 of the United States Code, such
payment or agreement having been made after one year before the date of filing of the petition, is as indicated above.

   I further certify that the Debtor has been informed and has agreed that the compensation paid shall include the following legal
services: (a) All conferences with the Debtor; (b) Preparation of Petition and Schedules; (c) Attendance at 341 First Meeting and
attendance at reaffirmation and/or confirmation hearings; (d) Preparation of routine motions.

   I have not agreed to share this compensation with any person other than members of the firm.


Date 12/13/2004                                                               /s/ Anquenetta Shontrell Dunner
                                                                             Anquenetta Shontrell Dunner



 /s/ Glynn Beaty
Glynn Beaty                              Bar No. 24026787
James C. Herring & Associates
6801 Sanger Avenue, Ste. 190
Waco, TX 76710
Phone: (254) 399-9977 / Fax: (254) 399-9909
